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                                  5                         IN THE UNITED STATES DISTRICT COURT
                                  6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                  8      CHRISTINA J. HANSON,                          Case No. 22-cv-01084-CRB
                                  9                   Plaintiff,
                                                                                       ORDER ADOPTING REPORT AND
                                  10            v.                                     RECOMMENDATION AND
                                                                                       DISMISSING THE CASE
                                  11     CHARLES DOWLING, et al.,
                                                      Defendants.
Northern District of California




                                  12
 United States District Court




                                  13          Plaintiff Christina Hanson filed this pro se suit alleging that NSA agent Charles
                                  14   Dowling wrongly identified her as an FBI informant and implanted a “Stargate Remote
                                  15   Viewing Device” in her right eye. See Compl. (dkt. 1). Screening her complaint for
                                  16   minimum legal viability under 28 U.S.C. § 1915(e)(2)(B), Magistrate Judge Beeler found
                                  17   that the allegations were fanciful but granted leave to amend because Hanson had
                                  18   identified a specific agent and suggested that something possibly happened. See Order
                                  19   (dkt. 10). Hanson filed a statement explaining that (1) the injuries resulted from Agent
                                  20   Dowling’s use of the “Neuroscience Engineering Harness,” (2) his wife and father-in-law
                                  21   obtained mutation bugs and deployed them against her, and (3) she suffered harms as a
                                  22   victim of human experimentation. See generally Statement (dkt. 17).
                                  23          On May 23, 2022, Magistrate Judge Beeler issued a report and recommendation
                                  24   concluding that Hanson’s claims were not minimally viable, recommended dismissal, and
                                  25   reassigned the case to the undersigned. See Report and Recommendation (dkt. 20).
                                  26   Hanson filed a timely objection recapitulating her allegations and including doctors’ notes
                                  27   and pictures of the bruises. See dkt. 22. Hanson’s objection does not make her claims
                                  28   more plausible or cast any doubt on Magistrate Judge Beeler’s conclusions. Because
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                                  1    Magistrate Judge Beeler’s report and recommendation is well-reasoned, thorough, and
                                  2    correct, the Court adopts it in full. The Court hereby DISMISSES this case.
                                  3          IT IS SO ORDERED.
                                  4          Dated: June 24, 2022
                                                                                       CHARLES R. BREYER
                                  5                                                    United States District Judge
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Northern District of California




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